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                                                                      7

                                                                      8                                  IN THE UNITED STATES DISTRICT COURT

                                                                      9                                 FOR THE EASTERN DISTRICT OF CALIFORNIA

                                                                     10

                                                                     11 UNITED STATES OF AMERICA,                                  ) Case No. 2:11-CR-00234-TLN
                                                                                                                                   )
                                                                     12                    Plaintiff,                              ) STIPULATION AND ORDER
BARTH TOZER & DALY LLP




                                                                                                                                   )
                                            SACRAMENTO, CALIFORNIA




                                                                     13          v.                                                )
                         ATTORNEYS AT LAW




                                                                                                                                   )
                                                                     14 DERIAN EIDSON,                                             )
                                                                     15                                                            )
                                                                                                                                   )
                                                                                           Defendants.
                                                                     16                                                            )
                                                                                                                                   )
                                                                     17                                                            )

                                                                     18           The parties hereby stipulate that on November 21, 2013 this Court issued an order setting
                                                                     19   discovery dates in the ancillary proceedings in this case. Contained in the discovery order was an
                                                                     20   order that all claims of privilege must be filed by December 4, 2013.
                                                                     21               Mr. Khasigian does not object to granting defense counsel at least until December 12, 2013,
                                                                     22   the date of the status conference on the forfeiture proceedings, to file any claims of privilege1. It is
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                                                                     24
                                                                          1
                                                                     25     Defense counsel informed Mr. Khasigian that she is currently preparing for trial in state court and has not
                                                                          had sufficient time to meet and confer with her client regarding these issues of a claim of privilege or whether
                                                                     26   or not obtaining a protective order may be necessary. More specifically, defense counsel is trailing in
                                                                          Sacramento County Superior Court and has been ordered to return on December 5, 2013 which will be day 3
                                                                     27   of 10.
                                                                          Ms. Eidson has been moved from the Sacramento County Jail to the Nevada County Jail, approximately two
                                                                     28   hours from defense counsel’s office. This move has further complicated efforts to adequately discuss the
                                                                          issues pertaining to possible claims of privilege.
                                                                          ____________________________________________________________________________________________________________
                                                                          STIPULATION AND ORDER                                1                                    [Case No. 2:11-CR-00234-TLN]
                                                                                 Case 2:11-cr-00234-TLN Document 284 Filed 12/06/13 Page 2 of 2


                                                                      1   the intent of the parties to address this issue at the status conference on December 12, 2013.

                                                                      2           Defense counsel respectfully requests the court grant additional time to allow defense counsel

                                                                      3   to confer with her client regarding these issues. Defense counsel requests at least until December 12,

                                                                      4   2013 to file any claims of privilege or request for a protective order.

                                                                      5   Dated: December 4, 2013.               BARTH TOZER & DALY LLP

                                                                      6

                                                                      7                                          By      /s/ Kresta Nora Daly
                                                                                                                          KRESTA NORA DALY
                                                                      8                                                   Attorneys for Derian Eidson

                                                                      9

                                                                     10

                                                                     11   Dated: December 4, 2013.
                                                                     12
BARTH TOZER & DALY LLP

                                            SACRAMENTO, CALIFORNIA




                                                                     13                                          By      /s/ Kresta Nora Daly
                         ATTORNEYS AT LAW




                                                                                                                            KEVIN KHASIGIAN
                                                                     14                                                     Assistant United States Attorney
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                                                                     17
                                                                                                                           ORDER
                                                                     18
                                                                     19           For good cause appearing, defense counsel has until December 12, 2013 to file any claims of

                                                                     20   privilege with regard to the forfeiture proceedings.

                                                                     21
                                                                          Dated: December 5, 2013
                                                                     22

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                                                                     25                                                          Troy L. Nunley
                                                                                                                                 United States District Judge
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                                                                     27

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                                                                          ____________________________________________________________________________________________________________
                                                                          STIPULATION AND ORDER                              2                                  [Case No. 2:11-CR-00234-TLN]
